                                                                                   FORM 1
                                                                                                                                                               Page No:    1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES

Case No.:                        12-33789                                                                                           Trustee Name:                           Samuel D. Sweet
Case Name:                       Richfield Landfill, Inc.                                                                           Date Filed (f) or Converted (c):        02/25/2013 (c)
For the Period Ending:           03/31/2022                                                                                         §341(a) Meeting Date:                   03/21/2013
                                                                                                                                    Claims Bar Date:                        07/17/2013
                                     1                                   2                        3                           4                        5                                        6

                        Asset Description                           Petition/            Estimated Net Value               Property              Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                           Unscheduled           (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                        Value                     Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)

Ref. #
1        Building 11145-11535 E Mt Morris Richfield                   $38,152.53                       $50,000.00                                           $0.00                                           FA
         Twp, MI 48759
2        Cell construction 11145-11535 E Mt Morris                 $8,137,254.07                      $100,000.00                                           $0.00                                           FA
         Richfield Twp, MI 48759
3        Land and improvements 11145-11535 E Mt                    $1,763,056.91                      $350,000.00                                           $0.00                                           FA
         Morris Richfield Twp, MI 48759
4        Petty cash 11145-11535 E Mt Morris                              $2,099.55                           $0.00                                          $0.00                                           FA
5        Citizens Bank Wealth Management, 328 S.                   $1,889,711.45                             $0.00                                          $0.00                                           FA
         Saginaw St., Flint, MI 48502 Richfield Landfill
         Inc. Escrow Fund (Account XX-XXXX- 01-0)
         Funds in escrow or trust are legally restricted for
         purposes of settling closure, post-closure and
         remedial obligations for the Debtors' two
         landfills.
6        Comerica, 201 W. Fort St., Detroit, MI 48226                    $1,031.17                           $0.00                                          $0.00                                           FA
         General Account (Account XXXXXX4815)
         Primary disbursement account for Richfield
         Landfill; used to fund payroll obligations for
         Richfield Landfill employees.
7        Various                                                         $2,866.31                           $0.00                                          $0.00                                           FA
8        3rd party receivables Trade                                 $189,744.72                             $0.00                                          $0.00                                           FA
9        Loans receivable                                               $11,421.88                           $0.00                                          $0.00                                           FA
10       Net intercompany balance                                  $3,046,729.56                             $0.00                                          $0.00                                           FA
11       Richfield Landfill, Inc. v Trinity Environmental                    $0.00                           $0.00                                          $0.00                                           FA
         Unliquidated Solutions, LLC A/R - Defendant
         has not paid for landfill services provided by
         Plaintiff
12       IT equipment 11145-11535 E Mt Morris                             $220.21                            $0.00                                          $0.00                                           FA
13       Machinery and equipment 11145-11535 E Mt                  $1,518,793.87                             $0.00                                          $0.00                                           FA
         Morris
14       Office equipment and furniture 11145-11535 E                        $0.00                           $0.00                                          $0.00                                           FA
         Mt Morris
15       Software 11145-11535 E Mt Morris                                $1,724.59                           $0.00                                          $0.00                                           FA
16       Fuel inventory 11145-11535 E Mt Morris                       $22,233.57                             $0.00                                          $0.00                                           FA
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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

Case No.:                     12-33789                                                                                                                    Trustee Name:                             Samuel D. Sweet
Case Name:                    Richfield Landfill, Inc.                                                                                                    Date Filed (f) or Converted (c):          02/25/2013 (c)
For the Period Ending:        03/31/2022                                                                                                                  §341(a) Meeting Date:                     03/21/2013
                                                                                                                                                          Claims Bar Date:                          07/17/2013
                                  1                                                 2                               3                               4                         5                                           6

                      Asset Description                                        Petition/                  Estimated Net Value                  Property                  Sales/Funds              Asset Fully Administered (FA)/
                       (Scheduled and                                        Unscheduled                 (Value Determined by                  Abandoned                 Received by              Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                     Value                           Trustee,                 OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

17      Capital purchases in progress 11145-11535 E Mt                          $784,397.50                                    $0.00                                                $0.00                                            FA
        Morris
18      Prepaid operating expenses 11145-11535 E Mt                             $217,114.43                                    $0.00                                                $0.00                                            FA
        Morris
19      Prepaid taxes 11145-11535 E Mt Morris                                     $11,998.74                                   $0.00                                                $0.00                                            FA


TOTALS (Excluding unknown value)                                                                                                                                                                          Gross Value of Remaining Assets
                                                                            $17,638,551.06                               $500,000.00                                                $0.00                                         $0.00



Major Activities affecting case closing:
 03/31/2022    Trustee is preparing the Trustee's Final Report in this case that has been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order. The
               Trustee expects to file the Final Report by 4/30/2022.
 03/31/2021    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2020    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2019    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2018    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2017    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2016    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2015    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/31/2014    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.
 03/29/2013    Trustee is investigating the business assets in this case that have been administratively consolidated in the case of Richfield Equities, LLC, Case No. 12-33788, per court order.


Initial Projected Date Of Final Report (TFR):            09/18/2014                            Current Projected Date Of Final Report (TFR):            04/30/2022                /s/ SAMUEL D. SWEET
                                                                                                                                                                                  SAMUEL D. SWEET




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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         12-33789                                                                                                   Trustee Name:                          Samuel D. Sweet
Case Name:                       Richfield Landfill, Inc.                                                                                   Bank Name:                             Bank of Texas
Primary Taxpayer ID #:           **-***2863                                                                                                 Checking Acct #:                       ******3373
Co-Debtor Taxpayer ID #:                                                                                                                    Account Title:
For Period Beginning:            04/01/2021                                                                                                 Blanket bond (per case limit):         $2,000,000.00
For Period Ending:               03/31/2022                                                                                                 Separate bond (if applicable):


     1                2                           3                                                           4                                                     5                    6              7

Transaction      Check /                      Paid to/                               Description of Transaction                               Uniform           Deposit            Disbursement       Balance
   Date           Ref. #                   Received From                                                                                     Tran Code            $                     $


06/29/2017                   Richfield Equities, LLC                         Transfer Funds from Administratively Consolidated               9999-000          $120,497.13                   $0.00      $120,497.13
                                                                             Case - Richfield Equities, LLC 12-33788
07/10/2017           3001    Samuel D. Sweet, PLC                            Attorney for Trustee Fees p/o 6/26/2017                         3110-000                   $0.00            $2,462.50      $118,034.63
07/12/2017           3002    Samuel D. Sweet                                 Trustee Fees p/o 7/11/2017                                      2100-000                   $0.00           $16,487.34      $101,547.29
07/12/2017           3003    United States Bankruptcy Court                  Court Costs p/o 7/11/2017                                       2700-000                   $0.00            $3,657.50       $97,889.79
07/12/2017           3004    Comerica Bank                                   Payment of Secured Claim p/o 7/11/2017                          4110-000                   $0.00           $28,612.50       $69,277.29
07/12/2017           3005    United States Trustee                           Payment of Quarterly Fees p/o 7/11/2017                         2950-000                   $0.00            $1,869.44       $67,407.85
07/12/2017           3006    RKA Petroleum Companies, Inc.                   Payment of Claim p/o 7/11/2017                                  6990-000                   $0.00            $6,066.70       $61,341.15
07/12/2017           3007    Michigan Department of Environmental            Payment of Claim p/o 7/11/2017                                  6990-000                   $0.00           $61,341.15              $0.00
                             Quality

                                                                                               TOTALS:                                                           $120,497.13            $120,497.13             $0.00
                                                                                                   Less: Bank transfers/CDs                                      $120,497.13                  $0.00
                                                                                               Subtotal                                                                $0.00            $120,497.13
                                                                                                   Less: Payments to debtors                                           $0.00                  $0.00
                                                                                               Net                                                                     $0.00            $120,497.13




                      For the period of 04/01/2021 to 03/31/2022                                                           For the entire history of the account between 06/29/2017 to 3/31/2022

                      Total Compensable Receipts:                                  $0.00                                   Total Compensable Receipts:                                       $0.00
                      Total Non-Compensable Receipts:                              $0.00                                   Total Non-Compensable Receipts:                                   $0.00
                      Total Comp/Non Comp Receipts:                                $0.00                                   Total Comp/Non Comp Receipts:                                     $0.00
                      Total Internal/Transfer Receipts:                            $0.00                                   Total Internal/Transfer Receipts:                           $120,497.13


                      Total Compensable Disbursements:                             $0.00                                   Total Compensable Disbursements:                            $120,497.13
                      Total Non-Compensable Disbursements:                         $0.00                                   Total Non-Compensable Disbursements:                              $0.00
                      Total Comp/Non Comp Disbursements:                           $0.00                                   Total Comp/Non Comp Disbursements:                          $120,497.13
                      Total Internal/Transfer Disbursements:                       $0.00                                   Total Internal/Transfer Disbursements:                            $0.00


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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        12-33789                                                                                       Trustee Name:                          Samuel D. Sweet
Case Name:                      Richfield Landfill, Inc.                                                                       Bank Name:                             Bank of Texas
Primary Taxpayer ID #:           **-***2863                                                                                    Checking Acct #:                       ******3373
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:           04/01/2021                                                                                     Blanket bond (per case limit):         $2,000,000.00
For Period Ending:              03/31/2022                                                                                     Separate bond (if applicable):


    1                2                           3                                                    4                                                5                    6             7

Transaction      Check /                     Paid to/                         Description of Transaction                         Uniform           Deposit            Disbursement      Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                     $



                                                                                                                                                                                 NET       ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                               NET DEPOSITS                      DISBURSE      BALANCES

                                                                                                                                                           $0.00         $120,497.13              $0.00




                     For the period of 04/01/2021 to 03/31/2022                                               For the entire history of the account between 06/29/2017 to 3/31/2022

                     Total Compensable Receipts:                            $0.00                             Total Compensable Receipts:                                      $0.00
                     Total Non-Compensable Receipts:                        $0.00                             Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                          $0.00                             Total Comp/Non Comp Receipts:                                    $0.00
                     Total Internal/Transfer Receipts:                      $0.00                             Total Internal/Transfer Receipts:                          $120,497.13


                     Total Compensable Disbursements:                       $0.00                             Total Compensable Disbursements:                           $120,497.13
                     Total Non-Compensable Disbursements:                   $0.00                             Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                     $0.00                             Total Comp/Non Comp Disbursements:                         $120,497.13
                     Total Internal/Transfer Disbursements:                 $0.00                             Total Internal/Transfer Disbursements:                           $0.00




                                                                                                                                                /s/ SAMUEL D. SWEET
                                                                                                                                                SAMUEL D. SWEET




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